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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                                Judge John L. Kane

Civil Action No. 06-cv-01896-AP

WINFREY ARCHITECTURAL CONCRETE, INC.,

              Plaintiff,
v.

THE UNITED STATES OF AMERICA,

              Defendant.


                             ORDER DISMISSING CASE

Kane, J.

       Based upon the representation that this case has settled, Plaintiff’s Unopposed Motion

to Dismiss (Doc. 26) is GRANTED and this case is DISMISSED. The parties shall bear

their own costs and attorney fees.

Dated this 16th day of August, 2007.

                                                  s/John L. Kane
                                                  SENIOR U.S. DISTRICT JUDGE
